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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     NORTHERN DIVISION



 UNITED STATES OF AMERICA,

                Plaintiff,                                 HON. ROBERT HOLMES BELL

 v.                                                        Case No. 2:12-cr-12-04

 MARIANN RENAY WOOD,

            Defendant.
 _________________________________/


                                       ORDER OF DETENTION


                In accordance with the arraignment conducted before the undersigned on June 28,

2012, at which time the government renewed its motion for defendant's detention, supported by a

recommendation for detention from pretrial services. For the reasons stated on the record, IT IS

HEREBY ORDERED that the government's oral motion for detention shall be granted and that the

defendant shall be detained pending further proceedings with defendant reserving the right to request

a detention hearing at a later date.

                IT IS SO ORDERED.



Date: June 28, 2012                                          /s/ Timothy P. Greeley
                                                            TIMOTHY P. GREELEY
                                                            United States Magistrate Judge
